                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


    UNITED STATES OF AMERICA,

                                  Plaintiff,

              V.                                                    Case No. 21-CR-163

    JEREMY ARRINGTON,

                                  Defendant.



                                         PLEA AGREEMENT



             1.    The United States of America, by its attorneys, Richard G. Frohling, Acting

    United States Attorney for the Eastern District of Wisconsin, and Carol L. Kraft, Assistant

    United States Attorney, and the defendant, Jeremy Arrington, individually and by attorney Teuta

    Jonuzi, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following

    plea agreement:

                                               CHARGES

             2.    The defendant has been charged in a one-count information, which alleges a

    violation of Title 18, United States Code, Sections 1343 and 2(a).

             3.    The defendant has read and fully understands the charge contained in the

    information. He fully understands the nature and elements of the crime with which he has been

    charged, and the charge and the terms and conditions of the plea agreement have been fully

    explained to him by his attorney.

             4.    The defendant voluntarily agrees to waive prosecution by indictment in open

    court.




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       5.          The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:

        THE UNITED STATES ATTORNEY CHARGES THAT:
       1.      Between a date in 2012 and continuing through 2018, in the State and
       Eastern District of Wisconsin and elsewhere,
                                    JEREMY ARRINGTON,
       and others, devised and participated in a scheme to defraud and obtain money by
       means of materially false and fraudulent pretenses, representations, and
       promises.
                                           The Scheme
       2.      The scheme involved the solicitation of investment fitnds to be used to
       acquire and renovate real estate to lease and sell for profit. The scheme isfurther
       described in part, in the following paragraphs:
            a. Acting as the co-owner and chieffinancial officer of Wisconsin Home
       Builders Network, LLC (WIHBN), a limited liability company organized under the
       laws of the State of Wisconsin, the defendant, together with his business partner,
       solicited investors to provide funds jbr real estate investment.
            b. Potential investors were told that W1HBN had expertise in real estate
       investment, was engaged in joint-venture real estate projects with investors, was a
       profitable business, and that there was little or no risk because invested funds
       would be used for the company's general business operations and would be
       secured by the company's assets and profits, and that the funds would be used to
       acquire and renovate specific properties and would be secured by mortgages on
       the properties.
            c. Potential investors were directed to wire investment funds to the WIHBN
       bank account in exchange for promissory notes that purported to memorialize
       their investment agreements and promised returns that rangedfrom 12% to 36%.
            d. Based on these representations and promises, WIHBN obtained
       approximately $2.8 million in investor _Ands between 2012 and 2017.




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                  The Materially False Pretenses, Representations, and Promises
       3.        in furtherance of the scheme, the defendant and his business partner made
       the following material misrepresentations and promises, among others:
             a. Contrary to the representations that W1HBN was profitable, it was not,
       and inflict, between 2012 and 2017, the business did not generate sufficient
       revenue in any year to meet its operating expenses and pay the principal and
       interest on the investors' promissory notes as they come due.
             b. Contrary to promises that investor finders would be used for real estate
       acquisition and renovation, investor Ands Were diverted to other purposes,
       including but not limited to, Ponzi-like payments to existing investors, draws by
       the partners, debt reduction, legal fees, and back taxes.
             c. Contrary to promises that investor funds would be secured, they were not,
       and with a few exceptions, mortgages that were provided to investors were never
       recorded.
                                        Execution of the Scheme
                                            COUNT ONE

       THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:
       4.        On or about February 2, 2017, in the State and Eastern District of
       Wisconsin and elsewhere, fbr the purpose of executing the above described
       scheme,
                                          Jeremy Arrington
           caused to be transmitted in interstate commerce, a wire communication which
           accomplished the transfer of $100,000from the account of D.K. at East
           Wisconsin Savings Bank, in Appleton, Wisconsin, to the WIHBN account ending
           in 5699 at Wells Fargo Bank in San Francisco, California.
                 All in violation of Title 18 United States Code, Section 1343 and 2(a).
      6.         The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense described in paragraph 5. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the following facts beyond a




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reasonable doubt. The defendant admits that these facts are true and correct and establish his

guilt beyond a reasonable doubt:

                On a date in 2010, Arrington partnered with J.N. to form a limited liability company
       known as Wisconsin Home Buyers Network, LLC (WIHBN), a company they originally
       characterized as a buyer's placement program designed to help individuals with poor credit
       histories acquire home mortgage funds. That business model proved unsuccessful, and the
       two partners then shifted their business focus to one that ostensibly would provide a variety
       of real estate and construction services, including real estate brokerage, real estate
       investment (acquiring, rehabbing and leasing and selling real estate for profit), property
       management, general contracting, and trade contractor services. In order to augment their
       business model, the partners formed additional companies known as WIHBN Realty,
       WIHBN Contractor Services, WIHBN Financial Services, WIHBN Electrical Mechanical
       Services, WIHBN Total Plumbing, and XSpect. J.N. served as the Chief Executive Officer
       (CEO) of WIHBN and Arrington served as its Chief Financial Officer (CFO). The partners
       promoted the investment portion of their business with a marketing video and a web site,
       http://wihbn.com, introduced themselves to various investment clubs, and solicited
       individual investors with presentations that promised little or no risk and heathy monetary
       returns ranging from 12% to 36%. They promoted WIHBN as a "one stop shop" for real
       estate, renovation, and investment needs for both experienced and novice investors, and
       boasted a "track record for investment planning, business planning and financial analysis."

               Between 2012 and 2017, the partners solicited and obtained approximately $2.8
       million in investor funds from more than 16 investors. Investors were directed to wire their
       investment funds to a WIHBN Wells Fargo bank account, account number ending 5699, in
       San Francisco, California, an account that was controlled by Arrington and J.N. In
       exchange for their investment funds, the investors received notarized "Corporate
       Promissory Notes," signed by the defendant, detailing the terms of the investment. Some
       investors also received mortgages that purported to be for specific properties that were
       being acquired and rehabilitated with the investor's funds, although the partners failed to
       record all but of few of these mortgages.

               Contrary to promises that the investor funds were secured by the assets of a
       successful business or were being used to acquire and rehabilitate specific properties,
       WIHBN was not successful nor were investor funds used as promised. Rather than being
       successful and profitable, WIHBN had business debt, delinquent tax obligations, and other
       financial issues that made the business unable to timely meet the payment obligations on
       the promissory notes, and rather than being used for the promised investment purposes,
       investor funds were corn ingled with other funds and were used for Ponzi-type payments to
       existing investors, payroll for the other WIHBN businesses, debt reduction, personal draws,
       back taxes, and legal fees among other things. When they were unable to pay the returns
       set forth in the various promissory notes as they came due, the partners sought extensions
       on the notes, solicited additional funds from existing investors, and attempted to secure
       new investors. In the end, less than $500,000 of over $2.8 million in investor funds were
       returned to investors as principal and interest.

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                One of WIHBN's investors was D.K., who as set forth in Count One of the
        Information, wired $100,00 from her bank account at East Wisconsin Savings Bank in
        Appleton to the WIHBN Wells Fargo account ending in 5699 on February 2, 2017. D.K
        was introduced to the defendant and J.N. in Janubry 2017. At a meeting with the two
        partners, they told D.K. that WIHBN was a successful business that was then focused on
        helping military veterans by placing them in affordable housing. They represented to D.K.
        that D.K.'s investment would be used to acquire and rehabilitate real estate for that purpose
        and that D.K.'s investment would be safe and would in fact, carry little or no risk at all.
        Based on these representations, D.K. made investments totaling $328,070, wiring $100,000
        to the WIHBN Wells Fargo account on February 2, 2017 as alleged in Count One of the
        information, and wiring additional funds to the WIHBN account on March 31, 2017, June
         IS, 2017, and September 6,2017, each time receiving a promissory note that promised a
        12% return on her investments.

                 Rather than acquiring and rehabilitating real estate that would be used for veteran
        housing, as D.K. was promised, her investment funds were used for draws by the partners,
        payments to the defendant's separate businesses, delinquent taxes on an associate's
        properties, and to make Ponzi-type interest payments to five other investors. WIHBN
        failed to pay to D.K. any of the principal or interest due on her promissory notes.

        This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant's knowledge of, or participation in this offense.

                                            PENALTIES

       7.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum term of imprisonment and fine: 20 years

and $250,000. The count also carries a mandatory special assessment of $100, and up to three

years of supervised release. The parties further recognize that a restitution order may be entered

by the court.

      8.        The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney.

                                            ELEMENTS

      9.        The parties understand and agree that in order to sustain the charge of Wire Fraud

in violation of 18 U.S.C. § 1343, the government must prove each of the following elements

beyond a reasonable doubt:
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       First, the defendant knowingly devised or participated in a scheme to defraud as alleged
       in the information;
       Second, the defendant did so with intent to defraud;
       Third, the scheme involved materially false or fraudulent pretenses, representations, or
       promises; and
       Fourth, the defendant used or caused the use of interstate wire communication as
       described in the information.

                                  SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      U.       The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.

                                Sentencin2 Guidelines Calculations

      13.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided
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false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      14.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

                                        Base Offense Level

      15.      The parties acknowledge and understand that the government will recommend to

the sentencing court that the applicable base offense level for the offense charged in the

information is 7 under Sentencing Guidelines Manual § 2B1.1(a)(1), and that a 16-level upward

adjustment is applicable under Sentencing Guidelines Manual § 2B1.1 (b)(1)(I) based on loss

greater than $1,500,000, and that a 2-level upward adjustment is applicable under Sentencing

Guidelines Manual § 2B1.1 (b)(2)(A)(i) and (iii) as the offense involved 10 or more victims and

resulted in a substantial financial hardship to one or more victims, for a total offense level of 25.

                                   Acceptance of Responsibility

      16.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. The defendant

acknowledges, understands, and agrees that conduct consistent with the acceptance of

responsibility includes but is not limited to the defendant's voluntary identification and

disclosure to the government of any and all actual or potential victims of the offense prior to

sentencing. In addition, if the court determines at the time of sentencing that the defendant is

entitled to the two-level reduction under § 3E1.1(a), the government agrees to make a motion
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recommending an additional one-level decrease as authorized by Sentencing Guidelines Manual

§ 3E1.1(b) because the defendant timely notified authorities of his intention to enter a plea of

guilty.

                                 Sentencing Recommendations

      17.      Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      18.      Both parties reserve the right to make any recommendation regarding any other

matters not specifically addressed by this agreement.

      19.      The government agrees to recommend a sentence at the low end of the applicable

sentencing guideline range, as determined by the court. The defendant is free to make his own

recommendation to the court.

                             Court's Determinations at Sentencing

      20.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the

imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 7 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

      21.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.
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                                     FINANCIAL MATTERS

      22.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations, lithe defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

      23.       The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the court, a complete and

sworn financial statement on a form provided by FLU and any documentation required by the

form. The defendant further agrees, upon request of FLU whether made before or after

sentencing, to promptly: cooperate in the identification of assets in which the defendant has an

interest, cooperate in the liquidation of any such assets, and participate in an asset deposition.

                                                 Fine

      24.      In light of the substantial restitution due in this case, the parties agree to

recommend to the sentencing court that no fine be imposed against the defendant.

                                        Special Assessment

      25.      The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.



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                                              Restitution

      26.       The defendant agrees to pay restitution as ordered by the court. The parties

acknowledge and understand that the government will recommend to the sentencing court that

the defendant pay restitution, currently estimated at approximately $2,059,150.15, jointly, and

severally with any co-actor(s) convicted of this offense. The defendant understands that because

restitution for the offense is mandatory, the amount of restitution shall be imposed by the court

regardless of the defendant's financial resources. The defendant agrees to cooperate in efforts to

collect the restitution obligation. The defendant understands that imposition or payment of

restitution will not restrict or preclude the filing of any civil suit or administrative action.

                                DEFENDANT'S COOPERATION

      27.       The defendant, by entering into this agreement, further agrees to cooperate with

the government fully and completely in its investigation of this and related matters, and to testify

truthfully and completely before the grand jury and at any subsequent trials or proceedings, if

asked to do so. The parties acknowledge, understand and agree that if the defendant provides

substantial assistance to the government in the investigation or prosecution of others, the

government, in its discretion, may recommend a downward departure from: (a) the applicable

sentencing guideline range; (b) any applicable statutory mandatory minimum; or (c) both. The

defendant acknowledges and understands that the court will make its own determination

regarding the appropriateness and extent to which such cooperation should affect the sentence.

                             DEFENDANT'S WAIVER OF RIGHTS

      28.       In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:


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            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or juiy. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government, and the judge all
                    must agree that the trial be conducted by the judge without a jury.

            b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                    selected at random. The defendant and his attorney would have a say in who
                    the jurors would be by removing prospective jurors for cause where actual
                    bias or other disqualification is shown, or without cause by exercising
                    peremptory challenges. The jury would have to agree unanimously before it
                    could return a verdict of guilty. The court would instruct the jury that the '
                    defendant is presumed innocent until such time, if ever, as the government
                    establishes guilt by competent evidence to the satisfaction of the jury beyond a
                    reasonable doubt.

            c.      If the trial is held by the judge without a jury, the judge would find the facts
                    and determine, after hearing all of the evidence, whether or not he was
                    persuaded of defendant's guilt beyond a reasonable doubt.

            d.      At such trial, whether by a judge or a jury, the government would be required
                    to present witnesses and other evidence against the defendant. The defendant
                    would be able to confront witnesses upon whose testimony the government is
                    relying to obtain a conviction and he would have the right to cross-examine
                    those witnesses. In turn the defendant could, but is not obligated to, present
                    witnesses and other evidence on his own behalf. The defendant would be
                    entitled to compulsory process to call witnesses.

            e.      At such trial, defendant would have a privilege against self-incrimination so
                    that he could decline to testify and no inference of guilt could be drawn from
                    his .refusal to testify. If defendant desired to do so, he could testify on his own
                    behalf.

      29.        The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that the




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defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.

      30.       The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights, including

but not limited to the right to vote, to hold public office, to serve on a jury, to possess firearms,

and to be employed by a federally insured financial institution.

      31.      The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

      32,      Based on the government's concessions in this agreement, the defendant

knowingly and voluntarily waives his right to appeal his sentence in this case and further waives

his right to challenge his conviction or sentence in any post-conviction proceeding, including but

not limited to a motion pursuant to 28 U.S.C. § 2255. As used in this paragraph, the term

"sentence" means any term of imprisonment, term of supervised release, term of probation,

supervised release condition, fine, forfeiture order, and restitution order. The defendant's waiver

of appeal and post-conviction challenges includes the waiver of any claim that (1) the statute or

Sentencing Guidelines under which the defendant is convicted or sentenced are unconstitutional,

and (2) the conduct to which the defendant has admitted does not fall within the scope of the

statute[s] or Sentencing Guidelines. This waiver does not extend to an appeal or post-conviction

motion based on (I) any punishment in excess of the statutory maximum, (2) the sentencing

court's reliance on any constitutionally impermissible factor, such as race, religion, or sex, (3)




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ineffective assistance of counsel in connection with the negotiation of the plea agreement or

sentencing, or (4) a claim that the plea agreement was entered involuntarily.

                             Further Civil or Administrative Action

      33.       The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take furt1Ter civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                      GENERAL MATTERS

      34.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      35.      The parties acknowledge, understand, and agree that this plea agreement vill be

filed and become part of the public record in this case.

      36.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

      37.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.
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              EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

       38.       The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter, If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the terms of

the proffer letter.

                        VOLUNTARINESS OF DEFENDANT'S PLEA

      39.       The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.


         7/23/2021
                                                ,Jc.rutui arvi4etA,
Date:
                                             JEREMY ARRINGTON
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.



Date:
                                             TEUTA JONUZI
                                             Attorney for Defendant


For the United States of America:



Date:
                                            / R.ICHARD . FROHLFN
                                      f                            /
                                          l 1/Acting United States Attorn



Date:                                                            Y        Y/
                                             CAROL L. KRAFT
                                             Assistant United States Attorney




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